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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

MARIE BAPTISTE and
MITCHELL MATORIN,
Plaintiffs,
Vv. C.A. No. 1:20-cv-11335~MLW
COMMONWEALTH OF MASSACHUSETTS
and EXECUTIVE OFFICE OF
HOUSING AND ECONOMIC

DEVELOPMENT,
Defendants.

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ORDER
WOLF, D.J. August 5, 2020

For the reasons explained at the August 4, 2020 hearing, it
is hereby ORDERED that:

1. The Motion to Intervene or in the Alternative as
"Enhanced" Amici Curiae filed by Chelsea Collaborative, Inc.,
City Life/Vida Urbana, Lynn United For Change, and Springfield
No One Leaves (Dkt. No. 23) is DENIED, without prejudice to
these organizations' later moving to file an amicus brief and
attaching the proposed brief if they believe that there are one
or more material issues that defendants are not raising or
advocating adequately.

2. The parties shall, by 12:00 noon on August 7, 2020,
confer and report concerning: (a) whether the court should
address the issues in this case on a motion or cross-motions for

summary judgment, rather than on the Motion for Preliminary
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Injunction;! (b) whether plaintiffs intend to file an amended
complaint; (c) whether plaintiffs intend to file additional
affidavits with their reply concerning the Motion for
Preliminary Injunction and, if so, whether defendants will seek
to file a sur-reply; and, in any event, (d) a proposed schedule
for completing the briefing concerning the pending motions and
future foreseeable events.

3. Plaintiffs shall file their reply concerning the
Motion for Preliminary Injunction by August 11, 2020.

4. The parties shall, by August 18, 2020, supplement
their briefing on the Motion for Preliminary Injunction to
address the legal issues concerning the facts the court should
consider. Their memoranda shall include discussion and legal
authority concerning the distinction between adjudicative and
legislative facts, the means by which any legislative facts
should be found, and the degree of deference to be given to
legislative facts by the court.

5. When the state court decides the motion for
preliminary injunction in Matorin v. Executive Office of Housing

and Economic Development, No. 2084-CV-1334 (Mass. Suffolk Super.

 

Ct.), the parties shall file a copy of it forthwith, confer, and

 

1 Although not mentioned at the August 4, 2020 hearing, the
parties shall also discuss the possibility of an expedited trial
on stipulated, or substantially stipulated, facts.
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report, within two business days of the decision, concerning
their respective views on the implications of that decision for

how this case should proceed.

6. The parties shall order the transcript of the August

4, 2020 hearing on an expedited basis.

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